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 Marc E. Wolin, Esq.
 mwolin@saiber.com
 John M. August, Esq.
 jaugust@saiber.com
 SAIBER LLC
 18 Columbia Turnpike, Suite 200
 Florham Park, NJ 07932
 Tel: (973) 622-8401

 -and-

 Joseph D. Satterley, Esq. (Pro Hac Vice Pending)
 jsatterley@kazanlaw.com
 KAZAN, McCLAIN, SATTERLEY & GREENWOOD
 A Professional Law Corporation
 Jack London Market
 55 Harrison Street, Suite 400
 Oakland, CA 94607
 Tel: (510) 302-1000

 Counsel for Claimant Trevor Barkley

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY
 In re:                                           :         Chapter 11
                                                  :
 LTL MANAGEMENT LLC,                              :         Case No. 23-12825 (MBK)
                Debtor.                           :
                                                  :         Judge: Michael B. Kaplan
                                                  :
 LTL MANAGEMENT LLC,                              :
                Plaintiff,                        :
                                                  :
             v.                                   :         Adv. No.: 23-1092 (MBK)
                                                  :
 THOSE PARTIES LISTED ON APPENDIX                 :
 A TO COMPLAINT AND JOHN AND                      :
 JANE DOES 1-1000                                 :
                   Defendants.                    :

                           DECLARATION OF JOSEPH D. SATTERLEY

            Pursuant to 28 U.S.C. § 1746, I, Joseph D. Satterley, declare under penalty of perjury as

follows:

            1.     I am a partner in the law firm of Kazan, McClain, Satterley & Greenwood, A

Professional Law Corporation, located at 55 Harrison Street, Suite 400, Oakland, California


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94607, and have been duly admitted to practice law in the States of Pennsylvania, Kentucky, and

California, the United States Supreme Court, the U.S. District Court for the Eastern and Western

Districts of Kentucky, and the U.S. Court of Appeals for the Third, Sixth, Eighth, and Ninth

Circuits. I have an application pending for admission as pro hac vice counsel for Claimant

Trevor Barkley (“Claimant”).

            2.   Unless otherwise stated in this Declaration, I have personal knowledge of the

facts set forth herein. If called as a witness, I would testify as to those facts.

            3.   I submit this Declaration in support of Claimant’s opposition to the Motion of

Debtor LTL Management LLC (“Debtor”) for Order (I) Declaring That the Automatic Stay

Applies or Extends to Certain Actions Against Non-Debtors, (II) Preliminarily Enjoining Such

Actions, and (III) Granting a Temporary Restraining Order Ex Parte Pending a Hearing on a

Preliminary Injunction. [Adv. Dkt. 2.]

            4.   I am the partner in charge of all aspects of Claimant’s case. I am also the lead trial

lawyer in his case. As a result, I have personal knowledge of the case’s procedural posture and

management.

            5.   Attached hereto as Exhibit 1 is a true and correct copy of the Complaint for

Personal Injuries in Barkley v. Johnson & Johnson, Case No. RG20066950 (“Barkley”), filed on

July 6, 2020, in the Superior Court of California, County of Alameda (“State Court”).

            6.   Attached hereto as Exhibit 2 is a true and correct copy of the relevant excerpts

from the transcript of Susan Barkley’s deposition testimony, taken on October 26, 2020.

            7.   Attached hereto as Exhibit 3 is a true and correct copy of the First Amended

Complaint for Personal Injuries (Survivorship) and Wrongful Death in Barkley, filed on May 20,

2021.




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            8.    Attached hereto as Exhibit 4 is a true and correct copy of the Trial Setting Order,

Declaration filed on October 7, 2022.

            9.    Attached hereto as Exhibit 5 is a true and correct copy of the Report of

Dr. Ronald Dodson in Barkley, dated March 5, 2021.

            10.   Attached hereto as Exhibit 6 is a true and correct copy of the Declaration of

William Longo filed in LTL I, Docket No. 2348-11, and Exhibit D thereto, Docket No. 2348-12.

            11.   Attached hereto as Exhibit 7 is a true and correct copy of the relevant excerpts

from the Reporter’s Transcript of Trial Proceedings in Prudencio v. Johnson & Johnson, Case

No. RG20061303, Alameda County, California, Superior Court (“Prudencio”), taken on July 1,

2021.

            12.   Attached hereto as Exhibit 8 is a true and correct copy of McCarthy, Adding TEM

to the Global Talc Specification.

            13.   Attached hereto as Exhibit 9 is a true and correct copy of “New Reagent Systems

– Plant Trial at Windsor Minerals,” dated May 14, 1974.

            14.   Attached hereto as Exhibit 10 is a true and correct copy of Blount, A., Amphibole

Content of Cosmetic and Pharmaceutical Talcs, 94 Environ. Health Perspectives 225 (1991).

            15.   Attached hereto as Exhibit 11 is a true and correct copy of “Cyprus Ore Reserve

Evaluation Preliminary Summary,”

            16.   Attached hereto as Exhibit 12 is a true and correct copy of an Interoffice

Correspondence from Munro to others re: “Cyprus Ore Reserves – Arsenic & Tremolite,” dated

March 25, 1992.

            17.   Attached hereto as Exhibit 13 is a true and correct copy of Blount’s letter to

Hatcher, dated April 23, 1998.




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            18.   Attached hereto as Exhibit 14 is a true and correct copy of Exhibit 5 to Dr. Alice

Blount’s deposition transcript.

            19.   Attached hereto as Exhibit 15 is a true and correct copy of Pier’s letter to Crouse

re: “Analysis of Fibrous Material from Argonaut Waste Rock,” dated May 23, 2002.

            20.   Attached hereto as Exhibit 16 is a true and correct copy of a fax from Monseau to

Mann re: “Asbestos,” dated February 24, 2004.

            21.   Attached hereto as Exhibit 17 is a true and correct copy of AMA Analytica

Services’ Report, dated October 3, 2019.

            22.   Attached hereto as Exhibit 18 is a true and correct copy of Telofski, A

Backgrounder on Talc and Talc Based Powders.

            23.   Attached hereto as Exhibit 19 is a true and correct copy of the Reporter’s

Transcript of Trial Proceedings in Prudencio, taken on July 8, 2021.

            24.   Claimant’s case was awaiting a trial date and would have obtained one against

J&J but for Debtor’s filing of its first Chapter 11 petition in In re LTL Management LLC, Case

No. 21-30589 (“LTL I”). As a result, Claimant’s cannot prosecute his viable claims against J&J

and Debtor.

            25.   Now, despite the dismissal of LTL I, Claimant cannot continue the prosecution of

his case against J&J and Debtor because of the Third Amended Ex Parte Temporary Restraining

Order.

            26.   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief. I executed this Declaration on April

17, 2023, in New York, New York.

                                                By:     /s/ Joseph D. Satterley
                                                       JOSEPH D. SATTERLEY



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